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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BERKLEY INSURANCE CO., et al.,

              Plaintiffs,

       v.                                  Case No. 1:13-cv-1053-RCL

FEDERAL HOUSING FINANCE
AGENCY, et al.,

              Defendants.


In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

__________________                         Case No. 1:13-mc-1288-RCL

This document relates to:
ALL CASES


     DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR A FINAL JURY
   INSTRUCTION REGARDING THE 10% CASH DIVIDEND REQUIREMENT
AND OPPOSITION TO PLAINTIFFS’ CROSS-MOTION TO PRECLUDE FURTHER
 ARGUMENT THAT “PAYMENT IN KIND” WAS NOT AN AVAILABLE OPTION
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                                       INTRODUCTION

       In light of Plaintiffs’ arguments regarding the Enterprises’ contractual dividend

obligations under the Treasury Stock Certificates, this Court should instruct the jury on the

meaning of the relevant provisions consistent with the Supreme Court’s unanimous holding in

Collins and this Court’s own considered reading of those provisions in its 2014 decision.

       Defendants’ proposed instruction is straightforward. It states that the Treasury Stock

Certificates “required” the Enterprises to pay the 10% dividend in “cash,” just like the Supreme

Court and this Court said. Next, the proposed instruction states that the 12% increase in

Treasury’s liquidation preference upon a failure to pay cash dividends was a “penalty,” just like

the Supreme Court and this Court said. And, as the Supreme Court’s and this Court’s decisions

make clear, Defendants’ proposed instruction states that the Enterprises could not simply

“cho[ose]” the 12% liquidation-preference increase as an alternative or substitute for paying cash

dividends. Indeed, as the Supreme Court explained, Plaintiffs’ position—that FHFA could have

protected the Treasury Commitment from erosion due to circular draws by choosing the so-

called “PIK” opinion—“misunderstands” the relevant provisions of the Stock Certificates.

       Plaintiffs’ scattershot arguments to the contrary are unavailing. None of the record

materials Plaintiffs rely upon contradicts Defendants’ proposed instruction. In any event, the

proper interpretation of unambiguous contract language is a purely legal issue, and it is therefore

the decisions of the Supreme Court and this Court that control, not a fact stipulation summarizing

the contract or snippets of witness testimony that do not directly address the key issues.

       The Court should grant Defendants’ motion and give the requested instruction to ensure

that the jury is not encouraged to render a verdict based on a misunderstanding or

misinterpretation of the Enterprises’ dividend obligations under the Treasury Stock Certificates.




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For the same reasons, the Court should deny Plaintiffs’ motion to preclude further argument that

“payment in kind” was not an available option.

                                           ARGUMENT

I.     The Court Should Instruct the Jury on the Enterprises’ Dividend Obligations
       Consistent with the Supreme Court’s Unanimous Holding in Collins

       Plaintiffs do not deny that the proper interpretation of unambiguous contract language is

a question of law to be decided by the Court rather than the jury. Nor do they dispute it is

appropriate to give a jury instruction on such an issue of interpretation. Plaintiffs also do not

dispute that both the Supreme Court and this Court have previously addressed the relevant

provisions of the Treasury Stock Certificates regarding the Enterprises’ dividend obligations.

Instead, Plaintiffs claim that the Supreme Court’s decision “contradict[s]” Defendants’ proposed

instruction, Opp. at 12 (emphasis and capitalization omitted), and they urge this Court to

disregard its prior interpretation as “dicta.” Id. at 13. Plaintiffs are wrong.

       Every aspect of Defendants’ proposed instruction closely and carefully tracks the

Supreme Court’s and this Court’s decisions. First, Defendants’ proposed instruction explains

that “[t]he Treasury Stock Certificates required Fannie Mae and Freddie Mac to pay a 10%

annual cash dividend to Treasury on a quarterly basis.” Mot. at 6 (emphases added). That is

materially identical—indeed, nearly verbatim—to what the Supreme Court said. See Collins v.

Yellen, 141 S. Ct. 1761, 1777 (2020) (“The companies’ stock certificates required Fannie Mae

and Freddie Mac to pay their dividends ‘in cash in a timely manner.’” (emphases added)); see

also Perry Cap. LLC v. Lew, 70 F. Supp. 3d 208, 217 (D.D.C. 2014) (“The [PSPA] provision

makes clear that 10% cash dividends were ‘required by’ the stock certificates . . . .”).

       Second, Defendants’ proposed instruction states that “[i]f Fannie Mae and Freddie Mac

failed to pay the 10% cash dividend, the Certificates provided that 12% would be added to the



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Treasury liquidation preference,” and that this “12% payment . . . was a contractual penalty that

would not have satisfied the contractual cash dividend obligation.” Mot. at 6 (emphases added).

Again, this is the same thing the Supreme Court said. See Collins, 141 S. Ct. at 1778 (“If the

companies had failed to do so, they would have incurred a penalty: Treasury’s liquidation

preference would have immediately increased by the dividend amount, and the dividend rate

would have increased from 10% to 12% until the companies paid their outstanding dividends in

cash.” (emphases added)). Even Plaintiffs admit that Collins “describes the [12%] payment as a

‘penalty.’” Opp. at 12; see also Perry Cap. LLC, 70 F. Supp. 3d at 217 (“[C]lassifying the 12%

dividend feature as a ‘penalty’ . . . is surely more accurate than classifying it as a ‘right.’”).

        Third, Defendants’ proposed instruction states that “[p]aying 10% in cash or adding 12%

to Treasury’s liquidation preference was not a matter of choice.” Mot. at 6. This instruction

tracks exactly the view adopted in this Court’s 2014 opinion, which stated that “plaintiffs’

contention that paying 10% in cash or adding 12% to the liquidation preference was merely a

matter of choice directly contravenes the unambiguous language of the contract.” Perry Cap.

LLC, 70 F. Supp. 3d at 217 (emphasis added). Even if that explanation were mere dicta at the

time, it is now supported by the Supreme Court’s decision. Collins held that the shareholder

plaintiffs’ contention “that the FHFA could have protected Treasury’s capital commitment by

ordering the companies to pay the dividends in kind rather than in cash . . . rests on a

misunderstanding of the agreement between the companies and Treasury,” because “paying

Treasury in kind would not have satisfied the cash dividend obligation.” Collins, 141 S. Ct. at

1777-78 (emphases added).

        Far from contradicting Defendants’ proposed instruction, as Plaintiffs contend, the

Supreme Court’s and this Court’s decisions squarely support every aspect of the instruction.




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And while Plaintiffs attempt to minimize the discussion in Collins as a mere “passage of the

opinion” (Opp. at 12-13), it in fact constitutes a holding of the Supreme Court that is binding

here. See, e.g., United States v. Windsor, 570 U.S. 744, 759 (2013) (explaining that legal

conclusions that are “necessary predicate[s]” to a court’s holding are “not dictum”); Mass.

Lobstermen’s Ass’n v. Ross, 945 F.3d 535, 541 (D.C. Cir. 2019) (“[a] necessary part of [the

court’s] reasoning” is not dicta). 1

        What is more, the Supreme Court and this Court were correct in interpreting the

unambiguous language of the agreements between Treasury and the Enterprises. On their face,

the Treasury Stock Certificates state that the Enterprises were “required” to pay the 10% cash

dividend each quarter, and that if the Enterprises had “fail[ed]” to do so, the dividend rate would

increase to 12% until the Enterprises “shall have paid in cash full cumulative dividends

(including any unpaid dividends added to the Liquidation Preference …).” Opp. Ex. A, § 2(c)

(Fannie Mae) (emphasis added); see also Opp. Ex. B, § 2(c) (Freddie Mac) (same). If the parties

had intended the 12% penalty to be an alternative mechanism for the Enterprises to fulfill their

contractual obligation, they would have written it as an alternative, just as they did in the context

of the Periodic Commitment Fee:

        At the election of [Fannie or Freddie], the Periodic Commitment Fee may be paid
        in cash or by adding the amount thereof ratably to the liquidation preference of
        each outstanding share of Senior Preferred Stock so that the aggregate liquidation


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  Even if Collins’s analysis were dicta, it was “carefully considered” dicta—which binds this
Court all the same: In this Circuit, “carefully considered language of the Supreme Court, even if
technically dictum, generally must be treated as authoritative.” In re Grand Jury Investigation,
916 F.3d 1047, 1053 (D.C. Cir. 2019) (citation omitted); Zivotofsky ex rel. Zivotofsky v. Sec’y of
State, 725 F.3d 197, 212 (D.C. Cir. 2013) (same); United States v. Fields, 699 F.3d 518, 522
(D.C. Cir. 2012) (same); Overby v. Nat’l Ass’n of Letter Carriers, 595 F.3d 1290, 1295 (D.C.
Cir. 2010) (same); United States v. Askew, 529 F.3d 1119, 1148 (D.C. Cir. 2008) (same); United
States v. Dorcely, 454 F.3d 366, 375 (D.C. Cir. 2006) (same); Sierra Club v. E.P.A., 322 F.3d
718, 724 (D.C. Cir. 2003) (same); United States v. Oakar, 111 F.3d 146, 153 (D.C. Cir. 1997)
(same).


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       preference of all such outstanding shares of Senior Preferred Stock is increased by
       an amount equal to the Periodic Commitment Fee. [Fannie or Freddie] shall
       deliver notice of such election not later than three (3) Business Days prior to each
       Periodic Fee Date. If the Periodic Commitment Fee is not paid in cash by 12:00
       pm (New York time) on the applicable Periodic Fee Date (irrespective of Seller's
       election pursuant to this subsection), Seller shall be deemed to have elected to pay
       the Periodic Commitment Fee by adding the amount thereof to the liquidation
       preference of the Senior Preferred Stock, and the aggregate liquidation preference
       of the outstanding shares of Senior Preferred Stock shall thereupon be
       automatically increased, in the manner contemplated by the first sentence of this
       section, by an aggregate amount equal to the Periodic Commitment Fee then due.

DX-0085 at 6 (attached as Exhibit A) (Fannie Mae PSPA); DX-0086 at 6 (attached as Exhibit

B) (Freddie Mac PSPA) (emphasis added). This language providing two alternatives for paying

the Periodic Commitment Fee stands in stark contrast to the Certificates’ 12% penalty for

“fail[ure] to pay dividends in cash in a timely manner as required.” PX-0033 (Opp. Ex. A) at 2;

PX-0034 (Opp. Ex. B) at 2-3 (emphasis added).

       In sum, the Court should instruct the jury on the proper interpretation of unambiguous

contract language, and every aspect of Defendants’ proposed instruction is supported by the

Supreme Court’s and this Court’s decisions regarding the Enterprises’ dividend obligations.

II.    None of Plaintiffs’ Arguments Can Overcome the Supreme Court’s Holding in
       Collins

       Plaintiffs offer a scattershot of arguments, in effect requesting that this Court reject its

own prior interpretation and disregard the interpretation of the Supreme Court. None of these

authorities can overcome the Supreme Court’s clear statement of law.

       First, Plaintiffs’ references to “contemporaneous documents and testimony” are not

inconsistent with the Supreme Court’s interpretation of the 10% dividend obligation, but even if

they were inconsistent, the latter’s construction and holding would control.

       The Enterprises’ financial statements do not support Plaintiffs’ misreading of the 12%

penalty; instead, they track the language of § 2(c) of the Treasury Stock Certificates: “If at any



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time we fail to pay cash dividends in a timely manner, then immediately following such failure

and for all dividend periods thereafter until the dividend period following the date on which we

have paid in cash full cumulative dividends (including any unpaid dividends added to the

liquidation preference), the dividend rate will be 12% per year.” Opp. Ex. E at 36; Opp. Ex. F at

41 (emphasis added). A Treasury staffer’s 2008 email on the scope of a consultant’s financial

analysis, Opp. Ex. H, and that consultant’s later financial analysis, Opp. Ex. G, do not bear on

the interpretation of the provision at issue. But even if such documents carried any weight (and

they do not), they would not displace the analysis and interpretation provided by a unanimous

Supreme Court. Finally, Mr. DeMarco’s testimony is not inconsistent with the jury instruction

Defendants have requested, as his testimony described the Enterprises’ non-payment of the

required 10% dividend as a “failure to pay.” First Trial Tr. 1014:8-16. Regardless of whether

Plaintiffs find an instance where at some point some person misconstrued § 2(c), any such

misinterpretation would not supplant the correct interpretation by a unanimous Supreme Court.

       Second, neither the Joint Statement of Undisputed Facts nor the parties’ “course of

conduct” contradicts the correct reading of § 2(c) as requiring the Enterprises to pay a 10%

dividend. The Joint Statement of Undisputed Facts refers to the “specific terms of the Senior

Preferred Stock” as contained within the Treasury Stock Certificate. JX-1 ¶ 19 (Class ECF No.

335, Berkley ECF No. 345). 2 It then describes how the PSPAs entitled Treasury to “an increase

of the liquidation preference at a rate of 12% of Treasury’s liquidation preference” when the

annual cash dividend was “not paid in cash.” Id. ¶ 20. As the Supreme Court stated, “[p]aying

Treasury in kind would not have satisfied the cash dividend obligation; it would only have




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 “Class ECF No.” refers to Case No. 1:13-mc-1288; “Berkley ECF No.” refers to Case No. 1:13-
cv-1053.


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delayed that obligation, as well as the risk that the companies’ cash dividend obligations would

consume Treasury’s capital commitment.” Collins, 141 S. Ct. at 1765. The Joint Statement of

Undisputed Facts does not change that. Similarly, Defendants’ “course of conduct” does not

suggest acquiescence to Plaintiffs’ misreading of the 10% dividend obligation; otherwise,

Defendants, for example, would not have objected to Plaintiffs’ opening demonstratives on this

very point. Finally, Defendants’ description in opening argument of the shareholders’ contract,

which lacks the 10% dividend that is at issue here, does not undermine Defendants’

interpretation of a separate provision (§ 2(c)) in a separate contract (Treasury Stock Certificate)

that is consistent with a holding of the Supreme Court.

       Third, Plaintiffs’ selective quotations of the “plain language” of the Certificates

themselves are unavailing. Opp. at 3, 4-7. The Certificates state that the Enterprises were

“required” to “pay dividends in cash in a timely manner.” PX-0033 (Opp. Ex. A) at 2, PX-0034

(Opp. Ex. B) at 2-3 (emphasis added). And where the Certificates elsewhere introduce

alternative options for the Enterprises to fulfill their contractual obligations, they do so by

allowing the Enterprises’ “election” between one option “or” the other. See DX-0085 at 6 (Ex.

A); DX-0086 at 6 (Ex. B). No such language is used to define the 10% cash dividend

requirement.

       Fourth, Plaintiffs wrongly claim that language in a series of earlier decisions in this case

supports their position that the 12% penalty was an equally available alternative to Fannie’s and

Freddie’s 10% cash dividend obligations. They cite a line from the D.C. Circuit’s 2017 opinion

that simply presents the stockholders’ argument that “FHFA could instead have adopted a

payment-in-kind dividend option that would have increased Treasury’s liquidation preference by

12% in return for avoiding a 10% dividend payment,” to which the court responded only,




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“[p]erhaps,” without deciding the question. Perry Cap. LLC v. Mnuchin, 864 F.3d 591, 610

(D.C. Cir. 2017). Plaintiffs also cite this Court’s post-remand motion-to-dismiss ruling

summarizing the stock purchase agreements, urging that it is meaningful that the Court did not

state that the 10% cash dividend was mandatory and the 12% penalty was “somehow never

available, never applicable, and a dead letter.” Opp. at 14 (citing Fairholme Funds, Inc. v. Fed.

Hous. Fin. Agency, 2018 WL 4680197, at *3 (D.D.C. Sept. 28, 2018)). In any event, the binding

source of authority of the contractual provision at issue is the Supreme Court’s decision in

Collins, which ruled squarely in favor of Defendants’ interpretation.

       Finally, Plaintiffs turn to case law addressing contracts providing for “alternate

performance.” Plaintiffs contend that “[i]t is well-established that when a contract sets forth two

alternatives for performing a contractual obligation, that constitutes a contract providing for

‘alternate performance,’ where either alternative satisfies the party’s obligation and is not a

penalty.” Opp. at 14-15. This may well be true when the contract at issue actually sets forth

alternate performance. And the Court need not look far for an example: as discussed supra, the

PSPAs’ Periodic Commitment Fee terms expressly laid out options for alternate performance

through which Fannie and Freddie could, at their “election,” fulfill their obligations. DX-0085 at

6 (Ex. A); DX-0086 at 6 (Ex. B) (emphasis added). In stark contrast, the contracts did no such

thing with respect to the 10% cash dividend payments; instead they set forth the 12% penalty as

a backstop in case of the GSEs’ “fail[ure]” to meet their cash dividend obligations, not as another

option to meet those obligations. Indeed, as the Supreme Court explained, under the contracts,

paying the 12% penalty “would not have satisfied the cash dividend obligation”; it would only

have deferred it temporarily. Collins, 141 S. Ct. at 1778. Plaintiffs’ assertion that the 12%

penalty was a “reasonabl[e] equivalent,” Opp. at 15, to the mandatory cash dividend is contrary




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to the text of the Treasury Stock Certificates and the Supreme Court’s interpretation of those

contracts and, therefore, irrelevant.

                                        CONCLUSION

       For the foregoing reasons, Defendants respectfully request the Court grant Defendants’

Motion and add to the final jury instructions the instruction regarding the 10% cash dividend

requirement set forth in Defendants’ Proposed Order. For the same reasons, the Court should

deny Plaintiffs’ Cross-Motion to Preclude Further Argument That “Payment in Kind” Was Not

an Available Option.




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Dated: August 1, 2023                    Respectfully submitted,

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